                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )
vs.                                            )       Case No. 11-3021-14-CR-S-GAF
                                               )
RICHARD F. COOK,                               )
                                               )
                       Defendant.              )

                                               ORDER

       Now pending before the Court is Defendant’s Motion to Dismiss (Doc. #151. Defendant argues

that an individual purchasing cocaine for personal use cannot be convicted of violating 21 U.S.C. §

843(b). He then articulates what he believes the evidence will show. The United States has filed its

response.

       On October 25, 2011, United States Magistrate Judge James C. England issued his Report and

Recommendation (Doc. #182). On November 7, 2011, Defendant's Objections to the Report and

Recommendation (Doc. #186) were filed.

       Upon careful and independent review of the pending motion, defendant’s objections to the

Magistrate's Report and Recommendation, as well as the applicable law, this Court hereby adopts and

incorporates as its own Opinion and Order the Report and Recommendation of United States Magistrate

Judge James C. England.

       Accordingly, it is hereby ORDERED that Defendant's Motion to Dismiss (Doc. #151) is

OVERRULED and DENIED.

       SO ORDERED.



                                                       s/ Gary A. Fenner
                                                       Gary A. Fenner, Judge
                                                       United States District Court

DATED: November 8, 2011



        Case 6:11-cr-03021-RED           Document 189         Filed 11/08/11      Page 1 of 1
